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                              UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF NORTH CAROLINA
                                      RALEIGH DIVISION



In re:                                              )
                                                    )
RANDY P. COLEY,                                     )
                                                    )         Case No. 18-02154-JNC
                                                    )         Chapter 7
                                            Debtor. )
                                                    )


RICHARD D. SPARKMAN, Chapter 7 Trustee,               )
                                                      )
                Plaintiff,                            )       Adversary Proceeding
                                                      )       No. 18-00113-5-JNC
                                                      )
   -against-                                          )
                                                      )
ITS THUNDERTIME, LLC, a Delaware Limited              )
Liability Company; RANDY P. COLEY;                    )
KIMBERLY COLEY,                                       )
                                                      )
                Defendant.                            )



                        MEMORANDUM OF LAW IN SUPPORT OF
                        MOTION FOR PRELIMINARY INJUNCTION

         Through counsel, Richard D. Sparkman, Chapter 7 Trustee (“Trustee”) for the

Bankruptcy Estate of Randy P. Coley, hereby submits the following memorandum of law in

support of the motion to allow the Trustee to administer, on a provisional basis, the assets of Its

Thundertime LLC, a Delaware Limited Liability Company (“ITT”), until such time as the Court

determines the Trustee’s declaratory judgment action that the assets of ITT constitute property of

the bankruptcy estate of Randy P. Coley (the “Debtor”) in the above-captioned Chapter 7

bankruptcy case.
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                             FACTS IN SUPPORT OF MOTION

       Richard D. Sparkman is the duly appointed Chapter 7 trustee for the bankruptcy estate of

Randy P. Coley. ITT is a Delaware Limited Liability Company that, prior to the Debtor’s filing

for bankruptcy, had its principal place of business in Wake County, North Carolina. Randy P.

Coley is the Debtor in the above-captioned proceeding. Upon information and belief, Mr. Coley

is a resident and domiciliary of Wake County, North Carolina. Prior to filing for bankruptcy, Mr.

Coley asserted an ownership interest in ITT. Kimberly Coley is the Debtor’s spouse. Upon

information and belief, Mrs. Coley is a resident and domiciliary of Wake County, North

Carolina. At various times prior to Mr. Coley filing for bankruptcy, Mrs. Coley asserted and

denied having an ownership interest in ITT.

       In January 2014, the United States District Court for the Western District of Virginia

entered a judgment in favor of DIRECTV against the Debtor and his company, East Coast

Cablevision, LLC (“ECC”).1 The court initially awarded DIRECTV $2,393,000.00. DIRECTV

subsequently obtained an award of attorneys’ fees and sanctions. According to the proofs of

claim that DIRECTV has filed, DIRECTV’s judgment against the Debtor, including post-

judgment interest, exceeded $2.6 million as of the Petition Date.

       The Debtor and ECC did not appeal the orders of final judgment as to DIRECTV’s

substantive claims or the award of attorneys’ fees or sanctions.

       In post-judgment proceedings before the district court, DIRECTV sought to “reverse



1
  In November, 2011, East Coast Cablevision filed for Chapter 11 bankruptcy in this Court. In re
East Coast Cablevision, LLC, 11-08976-8-RDD (Bankr. E.D.N.C.). In January 2012, the
Honorable Randy Doub transferred venue of the bankruptcy to the United States Bankruptcy
Court for the Western District of Virginia. 12-50041. A plan was neither proposed nor confirmed
in that bankruptcy and the bankruptcy was dismissed on June 13, 2012.


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pierce” the corporate veil of and extend liability to several limited liability companies that the

Debtor owned.

       By Order dated July 18, 2016, the district court held certain entities affiliated with the

Debtor to be alter egos of the Debtor including, without limitation, ITT

       Mr. Coley appealed the district court’s rulings on the post-judgment proceedings. Two of

Mr. Coley’s LLCs, ITT and South Raleigh Air LLC, also appealed, along with Mr. Coley’s wife,

Kimberli Coley. The Fourth Circuit Court of Appeals dismissed South Raleigh Air LLC from the

appeal prior to rendering a decision in the case.

       On March 28, 2018, the Fourth Circuit Court of Appeals issued an opinion that affirmed

the district court’s decision to reverse pierce the corporate veil of ITT. The appellate court

dismissed Mrs. Coley in conjunction with issuing its opinion on the merits.

       On April 11, 2018, Mr. Coley and the other appellants filed a petition for rehearing en

banc. On April 24, 2018, the Fourth Circuit Court of Appeals denied the petition for rehearing.

The appellate court issued its mandate on July 16, 2018.

       On April 30, 2018 (the “Petition Date”), the Debtor filed a voluntary petition seeking

relief under chapter 11 of the Bankruptcy Code. In a filing supplementing his schedules on June

5, 2018 [Bankr. D.E. #42], the Debtor indicated that he “recognizes and concedes that all of the

assets and liabilities of Its Thundertime, LLC, East Coast Sales, LLC, and South Raleigh Air,

LLC are the assets and liabilities of the estate” (¶ 8). On July 16, 2018, the Court appointed

Richard D. Sparkman as the Chapter 11 trustee for the Debtor’s bankruptcy estate. On August

16, 2018, the Court converted the matter to a Chapter 7 proceeding and appointed Mr. Sparkman

as Chapter 7 Trustee.

       The assets of ITT primarily consist of real estate located throughout North Carolina.




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Almost all of ITT’s real properties are rented. Among the real properties that ITT owns, ITT

owns a residential property located at 4336 Island Drive, North Topsail Beach, Onslow County,

North Carolina (the “Beach Residence”).

        The Beach Residence recently suffered severe damage from Hurricane Florence,

including damage to multiple entries and water intrusion to multiple levels of the house.

Although the Beach Residence has been secured, the property is in urgent need of further

remediation in order to preserve its value. The trustee is the only party in interest prepared to

conduct such remediation.

                                      LEGAL ARGUMENT

        A party seeking a preliminary injunction must demonstrate that: 1) he is likely to

succeed on the merits of its claim; 2) he is likely to suffer irreparable harm in the absence of

preliminary relief; 3) the balance of equities tips in the moving party’s favor; and 4) an

injunction is in the public interest. The Real Truth About Obama, Inc. v. Fed. Election Comm’n,

575 F.3d. 342, 347 (4th Cir. 2009). The Trustee’s request for injunctive relief satisfies all four

criteria.

        The Trustee is likely to succeed on the merits of the declaratory judgment action in light

of the prior positions taken by Debtor’s counsel regarding whether the automatic stay should

apply to protect ITT’s assets, the Debtor’s concession that the assets of ITT constitute assets of

the bankruptcy estate, and the Court’s rulings on related matters.

        The Trustee is likely to suffer irreparable harm in the absence of relief. If the Trustee is

not empowered to administer the assets of ITT pending a final determination on the Declaratory

Judgment action, the assets will diminish in value.

        The balance of equities tips in favor of the Trustee in light of the fact that the Trustee is




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the only party situated and incentivized to maintain ITT’s assets.

       An injunction is in the public interest in that an injunction will enable the Trustee to carry

out his statutory duties and will maximize the value of the Debtor’s bankruptcy estate.

                                         CONCLUSION

       The Trustee respectfully requests that the Preliminary Injunction motion be granted.

       This the 8th day of November, 2018.


                                                      /s/George F. Sanderson, III
                                                      George F. Sanderson, III
                                                      N.C. Bar No. 33054
                                                      ELLIS & WINTERS LLP
                                                      4131 Parklake Avenue, Suite 400
                                                      Raleigh, NC 27612
                                                      Telephone: (919) 865-7000
                                                      Facsimile: (919) 865-7010
                                                      george,sanderson@elliswinters.com
                                                      Counsel for the Trustee for Limited
                                                      Purposes




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                                  CERTIFICATE OF SERVICE

       I, George F. Sanderson III of ELLIS & WINTERS LLP hereby certify:

       That I am, and all time hereinafter mentioned was, more than eighteen (18) years of age;

       I hereby certify that on November 8, 2018, a true and correct copy of the Memorandum

of Law in Support of Plaintiff’s Motion for Preliminary Injunction was served by e-mail and

overnight, express mail to the following parties:

       J.M. Cook
       J.M. Cook, P.A.
       5886 Faringdon Place, Suite 100
       Raleigh, NC 27609
       919 675-2411
       J.M.Cook@jmcookesq.com
       Attorney for the Debtor

       Danny Bradford
       Bradford Law Offices
       455 Swiftside Drive, Suite 106
       Cary, NC 27518
       Dbradford@bradford-law.com
       Attorney for Kimberli Coley

       I further certify that on November 8, 2018, a true and correct copy of the Memorandum
of Law in Support of Plaintiff’s Motion for Preliminary Injunction was served by overnight,
express mail to the following parties:

       Its Thundertime LLC
       c/o Kimberli M. Coley, Registered Agent
       202 Brittany Place
       Cary, NC 27511

       Randy P. Coley
       202 Brittany Place
       Cary, NC 27511

       Kimberli M. Coley
       202 Brittany Place
       Cary, NC 27511




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      This the 8th day of November, 2018.

                                                /s/George F. Sanderson, III
                                                George F. Sanderson, III
                                                N.C. Bar No. 33054
                                                ELLIS & WINTERS LLP
                                                4131 Parklake Avenue, Suite 400
                                                Raleigh, NC 27612
                                                Telephone: (919) 865-7000
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                                                george,sanderson@elliswinters.com
                                                Counsel for the Trustee for Limited
                                                Purposes




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